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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION


KEITH HOBBS, et al.,                                 Case No. 4:19-cv-9-CDL

                              Plaintiffs,
     v.

UBER TECHNOLOGIES, INC., et al.,

                              Defendants.


                                   NOTICE OF SETTLEMENT

          Plaintiff Yvette Griffin (“Griffin”) and Defendant Uber Technologies, Inc. (“Uber”),

together referred to as (“the Parties”), hereby notify the Court that they have reached a settlement

of Griffin’s claims on an individual basis. Griffin’s claims against defendant Yodel

Technologies, LLC (“Yodel”) were resolved in Yodel’s bankruptcy proceeding. See Doc. 126-1.

The claims of plaintiffs Terry Fabricant and Keith Hobbs were compelled to arbitration. See

Doc. 146. The Parties therefore respectfully request the Court stay all proceedings, and permit

the Parties to submit a stipulation of dismissal with respect to Griffin’s claims within 45 days of

this notice.




Dated: April 14, 2021                               Respectfully submitted,


                                                   By:/s/ Timothy J. Sostrin

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date I electronically filed the foregoing Notice of Settlement

using CM/ECF system, which will automatically send e-mail notification of such filing to all

attorneys for record.

       April 14, 2021

                                             By: /s/ Timothy J. Sostrin

                                             Attorney for Plaintiffs
